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DESCRIPTION OF TRANSACTION
AND PUBLIC INTEREST STATEMENT

By the filing of this application (the “Application”’), the licensee subsidiary of T-Mobile
US, Inc. identified in the attached FCC Form 603 (“T-Mobile” or “Assignor”) and American H
Block Wireless Holding L.L.C., a subsidiary of DISH Network Corporation (“DISH” or
“Assignee” and collectively with T-Mobile, the “Parties”) hereby request Federal
Communications Commission (“FCC” or “Commission’’) approval for the assignment from T-
Mobile to DISH of the 800 MHz licenses identified in the attached form and associated filings
(the “FCC Licenses”).!

Description of the Parties

DISH is a provider of wireless service, as well as a distributor of video programming
through its direct broadcast satellite and over-the-top streaming services. DISH has been found
by the Commission to be qualified to hold licenses in a variety of mobile broadband services.” A
FCC Form 602 providing current ownership information for Assignee is on file with the
Commission.?

Assignor is a wholly owned subsidiary of T-Mobile US, Inc. (“T-Mobile US”), a publicly
traded company and part of the family of companies that provides nationwide wireless service
under the T-Mobile® brand names. Deutsche Telekom AG (“DT”) has de facto control over T-
Mobile US — and thus Assignor — as a result of proxy agreements that authorize DT to vote a
majority of the stock of T-Mobile US.

Description of the Transaction and Public Interest Statement

As part of the Final Judgment adopted by the United States District Court for the District
of Columbia in connection with the T-Mobile/Sprint merger, the Department of Justice (“DOJ”)
required T-Mobile to divest the 800 MHz licenses it acquired from Sprint,* and T-Mobile and

' The instant Application is part of a series of applications seeking Commission consent to assign 800 MHz licenses
to DISH from various licensee subsidiaries of T-Mobile US. The file numbers for the related applications are as
follows: (i) T-Mobile License LLC to American H Block Wireless Holding L.L.C. 0010656982; (ii) Nextel West
Corp. to American H Block Wireless Holding L.L.C. 0010656984; (iii) Nextel South Corp. to American H Block
Wireless Holding L.L.C. 0010656986; (iv) and T-Mobile USA, Inc. to American H Block Wireless Holding L.L.C.
0010656988.

> See, e.g., Service Rules for Advanced Wireless Services in the 2000-2020 MHz and 2180-2200 MHz Bands, et al.,
Order of Modification, 28 FCC Red. 1276, 1278 4 9 (WTB 2013); see also Auction of H Block Licenses in the 1915-
1920 MHz and 1995-2000 MHz Bands Closes; Winning Bidder Announced for Auction 96, Public Notice, 29 FCC
Red. 2044, 2052 (WTB 2014).

> See FCC File No. 0010657795.

4 United States of America et al., v. Deutsche Telekom AG, T-Mobile US, Inc., Softbank Group Corp., Sprint
Corporation, and DISH Network Corporation, Final Judgment, Case No. 1:19-cv-02232, at 11-13, 18-19 (D.D.C)
(April 1, 2020) (“Final Judgment’).
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DISH accordingly entered into a License Purchase Agreement, dated July 1, 2020, pursuant to
which the FCC Licenses are to be assigned from T-Mobile to DISH (the “Transaction”,
consistent with the terms of the Final Judgment and subject to the consent of the FCC.

Grant of the Application will further important public interest benefits well-recognized
by the Commission. In its order approving the T-Mobile/Sprint merger, the Commission
explicitly recognized the benefits of DISH entering the market as the fourth nationwide,
facilities-based provider deploying a 5G network. Specifically, the Commission found that
DISH’s acquisition of the assets set forth in the Final Judgment (including the 800 MHz
spectrum at issue here) would provide it with “the means to provide nationwide service on a
competitive 5G network” and that DISH’s entry into the market in this manner would “promote
competition” and provide DISH with the incentive to “grow market share and provide robust
competition.”° The terms of the Final Judgment are designed to facilitate DISH’s entry into the
wireless market as a facilities-based provider and grant of the instant Application would further
this important objective and enhance competition in the mobile wireless marketplace by making
DISH a stronger competitor in the offering of mobile voice and broadband services.

Indeed, DISH has already advanced these public interest benefits through its 5G
deployment, which covers over 73 percent of the United States population as of June 14, 2023.°
As DISH continues to deploy and increase coverage with this first-of-its-kind network, it will
expand the availability of competitive services offered to both consumer and business customers.
The 800 MHz spectrum licenses contemplated by this transaction will substantially enhance
DISH’s ability to do so. As the DOJ’s Competitive Impact Statement recognized, these licenses
will “add to DISH’s existing spectrum assets in order to ensure DISH has sufficient spectrum to
meet its buildout and service requirements and provide mobile wireless service to customers.”

In addition to the benefits described herein, grant of the Application does not raise any
competitive or public interest concerns. The Commission has previously determined that
applications that on their face demonstrate that a transaction meets the public interest standard
and will violate neither the Act or Commission rules, nor undermine Commission policies, do
not require extensive review.® The instant Application plainly meets this standard. Therefore,
the Commission should act swiftly to grant the Application.

5 See Applications of T-Mobile US, Inc., and Sprint Corporation, For Consent To Transfer Control of Licenses and
Authorizations, Memorandum Opinion and Order, Declaratory Ruling, and Order of Proposed Modification, 34 FCC
Red. 10578, 10741-42 4¥ 372, 374 (2019).

6 See DISH Network Corporation 5G Buildout Status Report, WT Docket No. 22-212 (July 14, 2023).

7 United States of America et al., v. Deutsche Telekom AG, et al., Competitive Impact Statement, Case No. 1:19-cv-
02232, at 9 (D.D.C) (filed July 26, 2019).

8 See Applications for Consent to the Transfer of Control of Licenses and Section 214 Authorizations from Tele-
Communications, Inc. to AT&T Corp., Memorandum Opinion and Order, 14 FCC Red. 3160, 3170 ¥ 16 (1999); see
also Applications of Ameritech Corp. and SBC Commc’ns Inc., et al., Memorandum Opinion and Order, 14 FCC
Red. 14712, 14740-41 4 54 (1999).
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Statement of No Environmental Impact

As required by Section 1.923(e) of the Commission’s rules,’ the Parties state that the
assignment of the FCC Licenses will not have a significant environmental effect, as defined by
Section 1.1307 of the Commission’s rules.'° An assignment of licenses does not involve any
engineering changes and, therefore, cannot have a significant environmental impact.

Conclusion

Accordingly, the Parties respectfully submit that Assignee is qualified to hold the
applicable spectrum licenses referenced herein and that approval of the requested license
assignments will serve the public interest, convenience, and necessity.'' The Parties respectfully
request that the Commission grant the instant Application expeditiously and without conditions.

° 47 CER. § 1.923(e).
047 CER. § 1.1307.

"| See Promoting Efficient Use of Spectrum Through Elimination of Barriers to the Development of Secondary
Markets, Report and Order and Further Notice of Proposed Rulemaking, 18 FCC Red. 20604 (2003).
